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 7

 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10

11                                         Case No.
     CARMEN JOHN PERRI, an
12                                         Complaint For Damages And
13   individual,                           Injunctive Relief For:

14                   Plaintiff,             1. VIOLATIONS OF THE
15                                             AMERICANS WITH DISABILITIES
     v.                                        ACT OF 1990, 42 U.S.C. §12181 et
16                                             seq. as amended by the ADA
17                                             Amendments Act of 2008 (P.L. 110-
     JUNG TAE HWA CORPORATION,
                                               325).
18   a California corporation; STEVEN
     A. SOKOL, individually and as
19                                          2. VIOLATIONS OF THE UNRUH
     trustee of the ALFRED L. SOKOL
                                               CIVIL RIGHTS ACT, CALIFORNIA
20   AND DOROTHE SOKOL FAMILY
                                               CIVIL CODE § 51 et seq.
     TRUST DATED 8/9/1990; and
21   DOES 1-10, inclusive,
22

23
                    Defendants.

24

25         Plaintiff, CARMEN JOHN PERRI (“Plaintiff”), complains of Defendants
26   JUNG TAE HWA CORPORATION, a California corporation; STEVEN A.
27   SOKOL, individually and as trustee of the ALFRED L. SOKOL AND DOROTHE
28   SOKOL FAMILY TRUST DATED 8/9/1990; and Does 1-10 (“Defendants”) and
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                                        COMPLAINT
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 1   alleges as follows:
 2                                          PARTIES
 3         1.     Plaintiff’s musculoskeletal and neurological systems are impaired.
 4   These impairments result in weakness, fatigue, pain, and loss of strength in his arms,
 5   hands, and legs. He has also developed permanent nerve damage that has caused
 6   increased pain and limits his ability to function and limits his mobility, especially for
 7   any extended period of time. He is substantially limited in performing one or more
 8   major life activities, including but not limited to: walking, standing, ambulating,
 9   and/or sitting. Plaintiff’s circulatory and cardiovascular systems are impaired.
10   Specifically, Plaintiff has been diagnosed with Atrial Fibrillation. This substantially
11   limits his ability to walk, stand, ambulate, breath, sit, or otherwise function. As a
12   result of his impairments, he is subject to falls, unsteady on his feet, cannot walk for
13   any significant distance without having to periodically rest, and often relies upon
14   mobility devices to ambulate including a cane, walker, or wheelchair. With such
15   disabilities, Plaintiff qualifies as a member of a protected class under the Americans
16   with Disabilities Act, 42 U.S.C. §12102(2) as amended by the ADA Amendments
17   Act of 2008 (P.L. 110-325) (“ADA”) and the regulations implementing the ADA set
18   forth at 28 C.F.R. §§ 36.101 et seq. At the time of Plaintiff’s visits to Defendants’
19   facility and prior to instituting this action, Plaintiff suffered from a “qualified
20   disability” under the ADA, including those set forth in this paragraph. Plaintiff is
21   also the holder of a Disabled Person Parking Placard.
22         2.     Plaintiff is informed and believes and thereon alleges that Defendants
23   JUNG TAE HWA CORPORATION, a California corporation; and STEVEN A.
24   SOKOL, individually and as trustee of the ALFRED L. SOKOL AND DOROTHE
25   SOKOL FAMILY TRUST DATED 8/9/1990, owned the property located at 5677
26   W. Pico Blvd., Los Angeles, CA 90019 (“Property”) on or around September 8,
27   2020 upon which Sunshine Liquor (“Business”) is located.
28         3.     Plaintiff is informed and believes and thereon alleges that Defendant
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                                            COMPLAINT
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 1   JUNG TAE HWA CORPORATION, a California corporation; and STEVEN A.
 2   SOKOL, individually and as trustee of the ALFRED L. SOKOL AND DOROTHE
 3   SOKOL FAMILY TRUST DATED 8/9/1990, own the Property currently.
 4          4.     The Business is a liquor store open to the public, which is a “place of
 5   public accommodation” as that term is defined by 42 U.S.C. § 12181(7).
 6          5.     Plaintiff does not know the true name of DOE Defendants, that may be
 7   related to the Business and/or Property. Plaintiff is informed and believes that each
 8   of the Defendants herein, including Does 1 through 10, inclusive, is responsible in
 9   some capacity for the events herein alleged. Plaintiff will seek leave to amend when
10   the true names, capacities, connections, and responsibilities of the Defendants and
11   Does 1 through 10, inclusive, are ascertained.
12                               JURISDICTION AND VENUE
13          6.     This Court has subject matter jurisdiction over this action pursuant
14   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
15          7.     This court has supplemental jurisdiction over Plaintiff’s non-federal
16   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
17   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
18   federal ADA claims in that they have the same nucleus of operative facts and
19   arising out of the same transactions, they form part of the same case or controversy
20   under Article III of the United States Constitution.
21          8.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
22   real property which is the subject of this action is located in this district and because
23   Plaintiff's causes of action arose in this district.
24                                FACTUAL ALLEGATIONS
25          9.     Plaintiff went to the Business on or about September 8, 2020 for the
26   dual purpose of purchasing a beverage and to confirm that this public place of
27   accommodation is accessible to persons with disabilities within the meaning federal
28   and state law.
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                                             COMPLAINT
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 1         10.    Unfortunately, although parking spaces were one of the facilities
 2   reserved for patrons, there were no designated parking spaces available for persons
 3   with disabilities that complied with the 2010 Americans with Disabilities Act
 4   Accessibility Guidelines (“ADAAG”) on September 8, 2020.
 5         11.    At that time, instead of having architectural barrier free facilities for
 6   patrons with disabilities, Defendants have: an accessible parking area whose slope
 7   exceeds ADAAG specifications (Section 502.4); an accessible aisle that is not
 8   clearly marked (Section 502.3.3); and, an accessible parking space that is not clearly
 9   marked (Section 502.2).
10         12.    Parking spaces are one of the facilities, privileges, and advantages
11   reserved by Defendants to persons at the Property serving the Business.
12         13.    Because Defendants JUNG TAE HWA CORPORATION, a California
13   corporation; and STEVEN A. SOKOL, individually and as trustee of the ALFRED
14   L. SOKOL AND DOROTHE SOKOL FAMILY TRUST DATED 8/9/1990, own
15   the Property, which is a place of public accommodation, they are responsible for the
16   violations of the ADA that exist in the parking area and accessible routes that
17   connect to the facility’s entrance that serve customers to the Business.
18         14.    Subject to the reservation of rights to assert further violations of law
19   after a site inspection found infra, Plaintiff asserts there are additional ADA
20   violations which affect him personally.
21         15.    Plaintiff is informed and believes and thereon alleges Defendants had
22   no policy or plan in place to make sure that there was compliant accessible parking
23   reserved for persons with disabilities prior to September 8, 2020.
24         16.    Plaintiff is informed and believes and thereon alleges Defendants have
25   no policy or plan in place to make sure that the designated disabled parking for
26   persons with disabilities comport with the ADAAG.
27         17.    Plaintiff personally encountered these barriers. The presence of these
28   barriers related to Plaintiff’s disability denies Plaintiff his right to enjoy accessible
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                                            COMPLAINT
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 1   conditions at public place of accommodation and invades legally cognizable
 2   interests created under the ADA.
 3          18.      The conditions identified supra are necessarily related to Plaintiff’s
 4   legally recognized disability in that Plaintiff is substantially limited in the major life
 5   activities of walking, standing, ambulating, and sitting; Plaintiff is the holder of a
 6   disabled parking placard; and because the enumerated conditions relate to the use of
 7   the accessible parking, relate to the slope and condition of the accessible parking and
 8   accessible path to the accessible entrance, and relate to the proximity of the
 9   accessible parking to the accessible entrance.
10          19.      As an individual with a mobility disability who at times relies upon a
11   wheelchair or other mobility devices, Plaintiff has a keen interest in whether public
12   accommodations have architectural barriers that impede full accessibility to those
13   accommodations by individuals with mobility impairments.
14          20.      Plaintiff is being deterred from patronizing the Business and its
15   accommodations on particular occasions, but intends to return to the Business for the
16   dual purpose of availing himself of the goods and services offered to the public and
17   to ensure that the Business ceases evading its responsibilities under federal and state
18   law.
19          21.      Upon being informed that the public place of accommodation has
20   become fully and equally accessible, he will return within 45 days as a “tester” for
21   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
22   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
23          22.      As a result of his difficulty experienced because of the inaccessible
24   condition of the facilities of the Business, Plaintiff was denied full and equal access
25   to the Business and Property.
26          23.      The Defendants have failed to maintain in working and useable
27   conditions those features required to provide ready access to persons with
28   disabilities.
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                                             COMPLAINT
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 1         24.    The U.S. Department of Justice has emphasized the importance of
 2   enforcing laws that prohibit unlawful discriminatory behavior, especially in the era
 3   of the COVID-19 emergency. See Statement by Assistant Attorney General for Civil
 4   Rights Eric S. Dreiband Protecting Civil Rights While Responding to the
 5   Coronavirus Disease 2019 (COVID-19) found at
 6   https://www.ada.gov/aag_covid_statement.pdf.
 7         25.    The violations identified above are easily removed without much
 8   difficulty or expense. They are the types of barriers identified by the Department of
 9   Justice as presumably readily achievable to remove and, in fact, these barriers are
10   readily achievable to remove. Moreover, there are numerous alternative
11   accommodations that could be made to provide a greater level of access if complete
12   removal were not achievable.
13         26.    Given the obvious and blatant violation alleged hereinabove, Plaintiff
14   alleges, on information and belief, that there are other violations and barriers in the
15   site that relate to his disability. Plaintiff will amend the complaint, to provide proper
16   notice regarding the scope of this lawsuit, once he conducts a site inspection.
17   However, the Defendants are on notice that the Plaintiff seeks to have all barriers
18   related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
19   (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
20   have all barriers that relate to his disability removed regardless of whether he
21   personally encountered them).
22         27.    Without injunctive relief, Plaintiff will continue to be unable to fully
23   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
24                               FIRST CAUSE OF ACTION
25   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
26     42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
27                                        (P.L. 110-325)
28         28.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
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                                            COMPLAINT
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 1   above and each and every other paragraph in this Complaint necessary or helpful to
 2   state this cause of action as though fully set forth herein.
 3         29.    Under the ADA, it is an act of discrimination to fail to ensure that the
 4   privileges, advantages, accommodations, facilities, goods, and services of any place
 5   of public accommodation are offered on a full and equal basis by anyone who owns,
 6   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
 7   Discrimination is defined, inter alia, as follows:
 8                a.     A failure to make reasonable modifications in policies, practices,
 9                       or procedures, when such modifications are necessary to afford
10                       goods, services, facilities, privileges, advantages, or
11                       accommodations to individuals with disabilities, unless the
12                       accommodation would work a fundamental alteration of those
13                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
14                b.     A failure to remove architectural barriers where such removal is
15                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
16                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
17                       Appendix "D".
18                c.     A failure to make alterations in such a manner that, to the
19                       maximum extent feasible, the altered portions of the facility are
20                       readily accessible to and usable by individuals with disabilities,
21                       including individuals who use wheelchairs, or to ensure that, to
22                       the maximum extent feasible, the path of travel to the altered area
23                       and the bathrooms, telephones, and drinking fountains serving
24                       the area, are readily accessible to and usable by individuals with
25                       disabilities. 42 U.S.C. § 12183(a)(2).
26         30.    Any business that provides parking spaces must provide accessible
27   parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
28   shall be at the same level as the parking spaces they serve. Changes in level are not
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                                            COMPLAINT
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 1   permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
 2   all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
 3   Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
 4   designated disabled parking space is a violation of the law and excess slope angle in
 5   the access pathway is a violation of the law.
 6         31.       A public accommodation must maintain in operable working condition
 7   those features of its facilities and equipment that are required to be readily accessible
 8   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 9         32.       Here, the failure to ensure that accessible facilities were available and
10   ready to be used by Plaintiff is a violation of law.
11         33.       Given its location and options, Plaintiff will continue to desire to
12   patronize the Business but he has been and will continue to be discriminated against
13   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
14   the barriers.
15                                SECOND CAUSE OF ACTION
16       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
17         34.       Plaintiff re-alleges and incorporates by reference all paragraphs alleged
18   above and each and every other paragraph in this Complaint necessary or helpful to
19   state this cause of action as though fully set forth herein.
20         35.       California Civil Code § 51 et seq. guarantees equal access for people
21   with disabilities to the accommodations, advantages, facilities, privileges, and
22   services of all business establishments of any kind whatsoever. Defendants are
23   systematically violating the UCRA, Civil Code § 51 et seq.
24         36.       Because Defendants violate Plaintiff’s rights under the ADA,
25   Defendants also violated the UCRA and are liable for damages. (Civ. Code § 51(f),
26   52(a).) These violations are ongoing.
27         37.       Plaintiff is informed and believes and thereon alleges that Defendants’
28   actions constitute discrimination against Plaintiff on the basis of a disability, in
                                                  8
                                              COMPLAINT
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 1   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
 2   previously put on actual or constructive notice that the Business is inaccessible to
 3   Plaintiff. Despite this knowledge, Defendants maintain its premises in an
 4   inaccessible form, and Defendants have failed to take actions to correct these
 5   barriers.
 6                                         PRAYER
 7   WHEREFORE, Plaintiff prays that this court award damages provide relief as
 8   follows:
 9         1.     A preliminary and permanent injunction enjoining Defendants from
10   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
11   Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
12   respect to its operation of the Business and Property; Note: Plaintiff is not invoking
13   section 55, et seq, of the California Civil Code and is not seeking injunctive relief
14   under the Disabled Persons Act (Cal. C.C. §54) at all.
15         2.     An award of actual damages and statutory damages of not less than
16   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
17         3.     An additional award of $4,000.00 as deterrence damages for each
18   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
19   LEXIS 150740 (USDC Cal, E.D. 2016); and,
20         4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
21   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
22                               DEMAND FOR JURY TRIAL
23         Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
24   raised in this Complaint.
25   Dated: November 23, 2020                MANNING LAW, APC
26

27                                    By: /s/ Joseph R. Manning Jr., Esq.
                                         Joseph R. Manning Jr., Esq.
28                                       Attorney for Plaintiff
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                                           COMPLAINT
